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POLITICS

What Is QAnon? What We Know About the Conspiracy-
Theory Group
Adherents of a right-wing group that believes former President Donald Trump was under assault by
Satan worshipers were among the mob that stormed the Capitol




A QAnon supporter participated in a pro-police rally in Brooklyn, N.Y., in early August.
PHOTO: STEPHANIE KEITH/REUTERS


By Brett Forrest
Updated Feb. 4, 2021 8:38 pm ET



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The conspiracy-theory group known as QAnon has grown in popularity in recent months.
It has spread from fringe internet message boards to mainstream platforms and has
become a political issue, and on Jan. 6, its adherents were among the most prominent
members of the mob of former President Donald Trump’s supporters who stormed the
U.S. Capitol in Washington. Here is what we know about QAnon, the conspiracy theory
behind it and how it started.


What is QAnon?
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QAnon is a far right-wing, loosely organized network and community of believers who
embrace a range of unsubstantiated beliefs. These views center on the idea that a cabal of
Satan-worshipping pedophiles—mainly consisting of what they see as elitist Democrats,
politicians, journalists, entertainment moguls and other institutional figures—have long
controlled much of the so-called deep state government, which they say sought to
undermine Mr. Trump, mostly with aid of media and entertainment outlets.


What is the QAnon conspiracy theory?
QAnon conspiracy theory alleges that there is a battle between good and evil in which the
Republican Mr. Trump is allied with the former. QAnon followers are awaiting two major
events: the Storm and the Great Awakening. The Storm is the mass arrest of people in
high-power positions who will face a long-awaited reckoning. The Great Awakening
involves a single event in which everyone will attain the epiphany that QAnon theory was
accurate the whole time. This realization will allow society to enter an age of utopia.


Who is “Q”?
Followers believe that “Q” is a high-ranking government insider, presumably with a
military or intelligence background, committed to exposing the hidden truth of what they
see as an international bureaucracy scheming against Mr. Trump and his supporters.
Some followers believe that “Q” often sends coded signals about his or her existence,
using the number 17—the letter Q’s placement in the alphabet. Online posts surrounding
QAnon conspiracy theories have often described “Q” as a patriot or saint.


What role did QAnon and its adherents play in the storming of the Capitol?
QAnon and its adherents were instrumental in Mr. Trump’s drive to overturn the
November election, which he lost decisively. In November, Sidney Powell, a former federal
prosecutor who was then representing Mr. Trump, said on Fox Business that she would
“release the kraken,” a reference to a powerful mythical beast, by making public evidence
of widespread voter fraud. Neither Ms. Powell nor any of Mr. Trump’s supporters have
done so, but QAnon supporters adopted the phrase as a rallying cry.

QAnon apparel was prevalent throughout the crowd at the Capitol and surrounding it.
During the storming of the Capitol, one of the first people up the stairs leading to the
Senate chamber was a man who wore a QAnon T-shirt.

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What was the reaction to President Biden’s inauguration?
QAnon message boards lit up during the inauguration with mixed messages.

Many people who were anticipating the Great Awakening were disappointed when it
didn’t transpire. Some struggled with what to make of the new administration.

But others like Ron Watkins, a prominent QAnon supporter, appeared ready to move on.

“We gave it our all,” Mr. Watkins wrote on Telegram. “Now we need to keep our chins up
and go back to our lives as best [as] we are able. We have a new president sworn in and it
is our responsibility as citizens to respect the Constitution. As we enter into the next
administration please remember all the friends and happy memories we made together
over the past few years.”




QAnon adherent Jake Angeli reached the Senate chamber inside the Capitol on Jan. 6.
PHOTO: MANUEL BALCE CENETA/ASSOCIATED PRESS



Who is Jake Angeli ?
QAnon adherent Jacob Anthony Chansley, also known as Jake Angeli, was among the most
visible members of the throng that breached the Capitol, reaching the Senate chamber
and briefly occupying the seat just vacated by Vice President Mike Pence, according to
photographs taken at the scene. Mr. Chansley was shirtless and wearing his trademark fur
hat and bison horns, his tattoos on display.

An Arizona native, Mr. Chansley has espoused QAnon views outside the Arizona Capitol
since at least 2019, according to the Arizona Republic newspaper. He has often carried a
battered sign reading: “Q sent me.”
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“The snowball has been rolling and it’s only getting bigger,” Mr. Chansley told the
newspaper in February outside a Trump rally in Phoenix. “We’re the mainstream now.”
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Mr. Chansley was arrested on Jan. 9 on federal charges connected to breaking into the
Capitol building. The Capitol Police investigator noted in court documents that after
viewing news-media photographs of the attack on the Capitol, he identified Mr. Chansley
in part based on his “unique attire and extensive tattoos.”


Who is Marjorie Taylor Greene ?
Rep. Marjorie Taylor Greene, a Georgia freshman Republican, is a Trump loyalist who has
in the past embraced the QAnon conspiracy theory and made venomous comments about
Muslims and other groups. She also cast doubt on whether some school shootings actually
happened and questioned whether a plane crashed into the Pentagon on Sept. 11, 2001.
She spoke at a “Stop the Steal” rally a day before the Jan. 6 attack on the Capitol and has
said Mr. Trump bears no responsibility for the riot, and has protested rules requiring
members of Congress to wear masks in the Capitol complex. Mrs. Greene distanced
herself from QAnon before she won election in November, and in a speech on the House
floor Feb. 4, said she regretted social media posts she wrote about QAnon.

Mrs. Greene has been condemned by lawmakers on both sides of the aisle including
Senate Republican Leader Mitch McConnell. On Feb. 4 the House voted 230-199 to strip
Mrs. Greene of her committee assignments, with 11 Republicans siding with Democrats.
The move will diminish Mrs. Greene’s ability to shape legislation and work with other
lawmakers, sidelining her just weeks into her first term in office.


Where and how did QAnon start?
In October 2017, messages on the anonymous online messaging board 4chan attributed to
“Q Clearance Patriot” were posted and signed by a user identified as “Q,” referencing the

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Energy Department’s highest level of security clearance for nuclear weapons, or “Q
clearance.” These cryptic messages would later be referred to as “Q drops” or
“breadcrumbs,” purportedly clandestine code that often made their way into pro-Trump
slogans and messages and were repeated by followers.

The previous year, a man armed with an assault-style rifle fired one or more shots inside
Comet Ping Pong, a Washington, D.C., pizza restaurant, and was later arrested. Before the
shooting, Trump supporters and white supremacists on social media spread a false
conspiracy theory asserting that Hillary Clinton and her former campaign chairman, John
Podesta, ran a child sex ring in the basement of a pizzeria. (Comet Ping Pong had no
basement.) The shooting has since been considered a precursor to QAnon.


How popular is QAnon?
A new analysis finds that groups perpetuating QAnon conspiracy theory have increased in
popularity on Facebook and Instagram since the start of the coronavirus pandemic as
more people have spent more time at home and in front of screens. One Facebook group
known as “QAnon News & Updates-Intel drops, breadcrumbs, & the war against the
Cabal” increased its membership by more than 10 times from Jan. 1 to Aug. 1 of this year.




What are Facebook, YouTube, Twitter and Amazon doing to address QAnon?
Twitter Inc. said on Jan. 11 that it had removed more than 70,000 accounts that spread the
QAnon conspiracy theory.

Amazon.com Inc. also said it was removing some products related to the QAnon
conspiracy, which has been labeled by the Federal Bureau of Investigation as a domestic
terrorist threat.

Facebook said in early October that it would remove more groups and pages devoted to
QAnon. The move builds on the social-media company’s efforts announced in August to
remove QAnon pages and groups that included discussions of potential violence. The
company will now ban any pages or groups dedicated to QAnon across Facebook, as well
as Instagram accounts focused on QAnon content. The new policy doesn’t ban individuals
from posting about the movement.


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In mid-October, YouTube took action against QAnon, banning videos that call for violence.
YouTube—a unit of Google—said in a blog post that it would immediately “prohibit
content that targets an individual or group with conspiracy theories that have been used
to justify real-world violence.” The development puts Google and parent Alphabet Inc.
further into an area the conglomerate has sought to avoid: the outright removal of
content.


Is QAnon dangerous?
A memo the FBI released in May identified QAnon as a potential domestic terrorism
threat, citing at least two incidents connecting QAnon with the planning and execution of
violent acts.

Write to Brett Forrest at brett.forrest@wsj.com



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